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THE UNITED STATES DISTRICT COURT
NORTHERN DlSTRlC'I` OF ILLINOIS

 

EASTERN DIVISION

RANDY HASSEN, )
)
Plaintiff, )
)

) Case No.
v. )

) JURY DEMAND

PRUVIT VENTURES, INC. and )
PRUVIT GEAR, )
)
Defendants. )

COMPLAINT AT LAW

COUNT l

NOW COMES the Plaintift`, RANDY I-IASSEN, by and through his attorneys JOI-IN T.
CICHON, complaining against the Defendant, PRUVIT VENTURES, INC., states as follows:

l. The Plaintiff, RANDY HASSEN, is a citizen and resident of the State of Illinois.
The Defendants, PRUVIT VENTURES, INC., is a corporation doing business in the State of
Texas, registered in the State of Texas with its principle place of business in Melissa, Texas. The
amount in controversy, exclusive of interest and costs, exceeds the sum of $75,000.00.
Jurisdiction is proper in this Court pursuant to 28 USC Section 1332, wherein this is a claim
between citizens of different states and the amount in controversy exceeds $75,000.00.

2. On and prior to December 23. 2016, the Defendant, PRUVIT VENTURES, INC.,
(hereinafter referred to as "PRUVIT") was engaged in the business of manufacturing, selling,
and distributing for sale to the general public ketone supplement products including a certain
ketone supplement product by the name of “KETOHOS Orange Dream” flavor Product Number

1631602, involved in the occurrence complained of herein.

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3. On and prior to December 23, 2013, Defendant, PRUVIT, marketed said ketone
supplement as a means to achieve weight loss goals, performance goals, and health and
longevity.

4. Prior to December 23, 20]6, the Plaintiff, RANDY HASSEN, received said
ketone supplement through a promotion on Facebook, by a promoter for PRUVIT, Cassandra
Monday.

5. Prior to December 23, 2016, Plaintiff, RANDY HASSEN, commenced
consumption of said ketone supplement, "KETO//OS Orange Dream” as directed on the
packaging

6. On or around December 23, 2016, Plaintift` RANDY HASSEN, was caused to be
injured when he passed out as a result of consumption of said ketone supplement

7. At all times mentioned herein, the Defendant PRUVI'I` was under an obligation to
supply ketone supplement products that were reasonably suited to the purposes for which they
were produced. and had a duty to supply ketone supplement products that would not cause injury
to Plaintiff and other consumers

8. The Def`cndant. PRUVIT, had a duty to design, manufacture, produce, and
distribute, said ketone supplements so that it was neither defective nor unreasonably dangerous
when put to the use for which it was designed, manufactured, produced, and distributed

9. At the time the "KETO//OS” supplement left the possession of the Defendant,
PRUVIT VENTURES, INC.. and at the time said ketone supplement entered the stream of
commerce, the ketone supplement was in an unreasonably dangerous and defective condition.
These defects included but were not limited to the following:

a. lt was inadequately designed t`or the purposes for which it
was sold;

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b. lt failed to include sufficient and adequate instructions and
warnings;
c. There was a failure to provide adequate warning to consumers

or users of the dangers or hazards inherent in the use of said
ketone supplement.

d. Was otherwise careless and negligent in the design and
manufacture of said ketone supplement.

lO. As a direct and proximate result and in consequence of one or more of the said
wrongful acts of the Defendant, PRUVIT. and the unreasonably dangerous and defective
condition of said ketone supplement, the Plaintiff was caused to be injured after ingesting said
ketone supplement, and thereby sustained severe and permanent injuries; and as a result thereof
he has suffered and with reasonable certainty will continue to suffer great pain and discomfort
and is likely to experience further pain and discomfort in the future, and he has been and will be
required to expend large sums of money for the care and treatment of his said injury and in the
future will be required to expend additional sums for the care and treatment of said injury and he
has been and will be hindered from attending to his usual affairs and duties as a result of said
injury.

WHEREFORE, the Plaintiff. RANDY HASSEN, asks for judgment against the
Defendants, PRUVIT VENTURES, INC._ in an amount in excess of Seventy-Five Thousand
Dollars ($75,000.00), exclusive ol`costs and for all other relief just and proper in the premises

COUNT ll

The Plaintiff, RANDY l-lASSEN, complaining against the Defendant, PRUVIT GEAR,

hereby adopts Paragraphs l through 10 of Count l as Paragraphs l through 10 of this Count II

and proceeds as follows:

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WHEREFORE, the Plaintiff, RANDY HASSEN, asks for judgment against the
Defendants, PRUVIT GEAR in an amount in excess of Seventy-Five Thousand Dollars

($75,000.00), exclusive ol"costs and for all other relief just and proper in the premises.

/s/ .lohn T. Cichon

John Cichon

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